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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF SOUTH CAROLINA
                                     COLUMBIA DIVISION

    UNITED STATES OF AMERICA                           CR. NO.: 3:21-cr-525-MGL

                       v.

    JEFFREY ALAN BENJAMIN


               Motion for Reciprocal Discovery on Behalf of the United States

        The United States, by and through its undersigned Assistant United States Attorneys,

respectfully moves that this Honorable Court direct the defendant to make available for inspection

and copying each of the following:

        A. Pursuant to FED. R. CRIM. P. 26.2 and United States v. Nobles, 422 U.S. 225 (1975):

               All prior statements in the possession of the defendant, if any, given by
        witnesses whom the defendant expects to call at trial, other than the defendant
        himself. The term “statements” is to be construed by the defendant the same as
        defined in Fed. R. Crim. P. 26.2 and the Jencks Act, 18 U.S.C. § 3500. 1

        B. Pursuant to FED. R. CRIM. P. 16(b)(1)(A):

               All books, papers, documents, data, photographs, tangible objects, buildings
        or places, or copies or portions of any of these items, which are within the
        possession, custody, or control of the defendant and which the defendant intends to
        introduce as evidence in chief at trial.

        C. Pursuant to FED. R. CRIM. P. 16(b)(1)(B):

                 Any results or reports of physical or mental examinations and of scientific
        tests or experiments made in connection with this particular case, or copies thereof,
        as well as the names and/or opinions of any such experts conducting tests or
        experiments or examinations, within the possession or control of the defendant,
        which the defendant intends to introduce as evidence in chief at the trial or which


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  Although the authority cited herein does not require the production of statements until after the
witness has testified, the Government respectfully requests early disclosure, commensurate with
the Government’s practice of early disclosure of statements, memoranda of interviews and other
discovery.
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      were prepared by a witness whom the defendant intends to call at the trial when the
      results or reports relate to their testimony.

      D. Pursuant to FED. R. CRIM. P. 16(b)(1)(C):

              A written summary of testimony the defendant intends to use under FED. R.
      EVID. 702, 703, and 705 as evidence at trial. The government requests that this
      summary include a complete statement of all opinions that the defendant will elicit
      from the witness in the defendant’s case-in-chief; the bases and reasons for them;
      the witness’s qualifications, including a list of all publications authored in the
      previous 10 years; and a list of all other cases in which, during the previous 4 years,
      the witness has testified as an expert at trial or by deposition.


                                         Respectfully submitted,


                                                 ADAIR F. BOROUGHS
                                                 UNITED STATES ATTORNEY


                                          By: s/Brook B. Andrews
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